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  12 SONY CORPORATION OF AMERICA
  13
  14                        UNITED STATES DISTRICT COURT
  15                      CENTRAL DISTRICT OF CALIFORNIA

  16   GUFENGCHUN, an individual,                 Case No.: 2:17-cv-00963 VAP-AS
                                                  Honorable Virginia A. Phillips
  17
                        Plaintiff,
  18                                              STIPULATION OF THE PARTIES
                            V.                    TO DISMISS THE ENTIRE
  19
                                                  ACTION WITH PREJUDICE
  20   SONY CORPORATION, a Japanese
  21   corporation; SONY CORPORATION OF           Complaint Filed: February 7, 2017
       AMERICA, a New York corporation; and
  22   DOES 1-10, inclusive,
  23
                      Defendants.
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                                 STIPULATION TO DISMISS ACTION
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                       1         TO THIS HONORABLE COURT, ALL PARTIES AND THEIR
                       2   ATTORNEYS OF RECORD HEREIN:
                       3         The parties to this action, acting through their respective counsel of record,
                       4   and pursuant to the Federal Rules of Civil Procedure, Rule 41(a)(l)(A)(ii). hereby
                       5   stipulate, in consideration of a negotiated settlement executed by them, to the
                       6   Dismissal With Prejudice of this action in its entirety. Each party shall bear its own
                       7   attorney's fees and costs.
                       8
                       9   DA1ED: (::; /2i/zl)r1-                  KOHAN LAW F� ,/                            7
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                      11                                              K. Tom Kohan, Esq.
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      lt:)    C'l                                                     Attorney for Plaintiff
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                                                                       James . Rosen, Esq.
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              g:                                                       Attordeys  for Defendant
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 1
                                   PROOF OF SERVICE
 2
     STATE OF CALIFORNIA                    )
 3                                          )     ss
     COUNTY OF LOS ANGELES                  )
 4
 5         I am employed in the County of Los Angeles, State of California. I am over
     the age of 18 and not a party to the within action; my business address is: 9350
 6   Wilshire Boulevard, Suite 250, Beverly Hills, California 90212.
 7         On July 7, 2017, I served the foregoing document described as:
     STIPULATION OF THE PARTIES TO DISMISS THE ENTIRE ACTION
 8   WITH PREJUDICE, on the interested parties in this action by placing a true copy
     thereof enclosed in sealed envelopes addressed as follows:
 9
10     K Tom. Kohan, Esq., SBN 225420            Attorneys for Plaintiff Gu Fengchun:
11     KOHAN LAW FIRM
                                                 Tel: (310) 349-1111
       515 South Figueroa Street, Suite 1200
12                                               Fax: (888) 476-7010
       Los Angeles, California 90071
13     Email: tom@kohanlawfirm.com

14
     [√]   By electronic transmission to all parties at the recipients at the electronic
15         address above by using the Court’s CM/ECF electronic filing system.
16
     [√]   FEDERAL I declare that I am employed in the office of a member of the
17         bar of this Court at whose direction the service was made. I also declare under
           penalty of perjury under the laws of the United States of America that the
18         above is true and correct.
19
           Executed on July 7, 2017, at Beverly Hills, California.
20
21
                                                       /s/James R. Rosen         d
22                                                      James R. Rosen
23
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                             STIPULATION TO DISMISS ACTION
